Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 1 of 12 Page ID #:1681
     Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 2 of 12 Page ID #:1682
                           WITNESS FEES (computation, cf. 28 U.S.C. 1821 for statutory fees)

                                                      ATTENDANCE      SUBSISTENCE       MILEAGE
                                                                                                          Total Cost
                NAME, CITY AND STATE                          Total           Total              Total   Each Witness
                                                      Days    Cost    Days    Cost    Miles      Cost




                                                                                              TOTAL




CV-59 (06/10)                                       BILL OF COSTS                                               Page 2 of 3
     Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 3 of 12 Page ID #:1683

                           INSTRUCTIONS AND NOTICES REGARDING BILL OF COSTS


SPECIAL NOTE: An itemization and documentation to support the claims made in all categories shall be attached
to the Application for Bill of Costs. Documentation shall include receipts, orders and stipulations of the parties. The claiming
party shall ensure that receipts are self-explanatory (i.e. receipts for service to include the name of the individual). The Clerk's
designee may disallow any expenses that do not have supporting documentation. It is the claiming party's responsibility to
ensure that the total cost requested in all categories on Form CV-59 reflects the same total of the documentation submitted
in support thereof. The Clerk's designee shall allow such items specified in the application which are properly recoverable
as costs.

PROCEDURE FOR FILING BILL OF COSTS: Local Rule 54-3. Within (15) days after the entry of judgment, the
party entitled to costs shall electronically file a Notice of Application to the Clerk to Tax Costs and shall attach a proposed
Bill of Costs on Form CV-59. The Bill of Costs and the Notice of Application to the Clerk to Tax Costs shall be prepared as
two separate documents. All costs shall be specified so that the nature of the claim can be readily understood. The Bill of
Costs will be electronically filed by the Clerk once determination of allowable costs are made.

APPEARANCE REQUIREMENTS: Local Rule 54-3.2. The date and time for taxation of costs by the Clerk shall be not
less than fourteen (14) nor more than twenty-one (21) days from the date notice is given to the other parties. If no objections
to the Bill of Costs are filed in compliance with L.R. 54-7, then no appearance by counsel is required. In the absence of a
timely objection, any item listed may be taxed as requested in the Bill of Costs. When an objection is filed, the Clerk may
determine that no hearing is required and the parties will be so notified. If a hearing is to be held, the Clerk may specify the
form of the hearing and determine if telephonic appearances are appropriate. For further details, please consult the Bill of
Costs Handbook available on the court's website.

Section 1924, Title 28, U.S. Code (effective September 1, 1948): Verification of bill of costs. Before any bill of costs is
taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by his duly
authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the
case and that the services for which fees have been charged were actually and necessarily performed.

Section 1920 of Title 28, which reads in part as follows: A bill of costs shall be filed in the case and, upon allowance,
included in the judgment or decree.


The Federal Rules of Civil Procedure contain the following provisions:

Rule 54(d)(1)
Costs Other than Attorney’s Fees. Unless a federal statute, these rules, or a court order provides otherwise, costs - other than
attorney’s fees - should be allowed to the prevailing party. But costs against the United States, its officers, and its agencies
may be imposed only to the extent allowed by law. The clerk may tax costs on 14 day’s notice. On motion served within the
next 7 days, the court may review the clerk’s action.

Rule 6(d)
Additional Time After Certain Kinds of Service. When a party may or must act within a specified time after service and
service is made under Rule 5(b)(2)(C), (D), (E) or (F), 3 days are added after the period would otherwise expire under Rule
6(a).

Rule 58(e)
Cost or Fee Awards. Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax
costs or award fees. But if a timely motion for attorney’s fees is made under Rule 54(d)(2), the court may act before a notice
of appeal has been filed and become effective to order that the motion have the same effect under Federal Rule of Appellate
Procedure 4(a)(4) as a timely motion under Rule 59.




CV-59 (06/10)                                             BILL OF COSTS                                                    Page 3 of 3
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 4 of 12 Page ID #:1684




                                    Attachment 1 to Bill of Costs

                                  Itemization of Recoverable Costs


Description                                                                 Amount      Attachment
DEPOSITIONS – Local Rule 54-4.6
Deposition of Plaintiff (non-appearance) – Court Reporter Fees                 395.00      1-A
Deposition of Plaintiff        – Original & 1 copy                           1,876.50      1-B
                               – Exhibits                                       27.20      1-B
                               – Certification & production fee                471.69      1-B
Deposition of Wells Fargo Bank         – Transcript charge                     295.00      1-C
                                       – Exhibits                               36.55      1-C
                                       – Certification & production fee         34.36      1-C
                                       – Processing fee                         42.50      1-C
                                       – Witness fee                            40.00      1-F
Plaintiff’s purported corporations     – Certifications of non-appearance      750.00      1-D
of 3 corporations.
                                       – Shipping fee                           15.00      1-D
Plaintiff’s purported corporations     – Certifications of non-appearance      500.00      1-E
of 2 corporations.
                                       – Shipping fee                           15.00      1-E
                                                                            $4,498.80
Service of Process – Local Rule 54-4.2
Deposition Subpoena – Wells Fargo Bank ($193.86 - $40 witness fee)             153.86      1-F
Deposition Subpoenas – Plaintiff’s purported corporations                      897.50      1-G
Deposition Subpoena – Bank of America ($160.00 - $40 witness fee)              120.00      1-H
                                                                            $1,171.36
Reproduction of Documents (Exhibits) – Local Rule 54-4.11
Exhibits to Defendants’ Motion for Summary Judgment (224 x .20)                  44.8      NA
Exhibits to Defendants’ Reply re Defendants’ Motion for Summary                  0.40      NA
Judgment (2 x .20)
Exhibits to Defendants’ Opposition to Plaintiff’s Motion for Partial            57.20      NA
Summary Judgment (286 x .20)
Exhibits to Defendants’ Opposition to Plaintiff’s Ex Parte Application           8.60      NA
to Quash subpoenas to Wells Fargo Bank and Bank of America
(43 x .20)
Exhibits to Defendants’ Opposition to Plaintiff’s Ex Parte Application          20.00      NA
to file late opposition to Defendants’ Motion for Summary Judgment
(100 x .20)
                                                                             $ 131.00
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 5 of 12 Page ID #:1685




                                                                    Attachment 1-A
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 6 of 12 Page ID #:1686




                                                                      Attachment 1-B
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 7 of 12 Page ID #:1687




                                                                       Attachment 1-C
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 8 of 12 Page ID #:1688




          Attachment 1-D
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 9 of 12 Page ID #:1689




         Attachment 1-E
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 10 of 12 Page ID #:1690




                                                                Attachment 1-F
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 11 of 12 Page ID #:1691




                                                           Attachment 1-G
Case 2:10-cv-08532-PA-SS Document 75-1 Filed 06/30/11 Page 12 of 12 Page ID #:1692




                                                             Attachment 1-H
